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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                            Norfolk Division

  UNITED STATES OF AMERICA

  v.
                                                               ACTION NO. 2:07cr6
  KYLE THOMAS LOUDERBACK,

                 Defendant.


                              REPORT AND RECOMMENDATION1
                               CONCERNING PI FA OF GTIFT TV

         The Defendant, by consent, has appeared before me pursuant to Federal Rule of Criminal
 Procedure 11, and referral from a United States District Judge and has entered a plea of guilty to
 Count Two of the indictment. After cautioning and examining the Defendant under oath concerning
 each of the subjects mentioned in Rule 11,1 determined that the guilty plea was knowledgeable and
 voluntary^dthattheoffensechargedis supported by an independent basis in fact establishing each
 of the essential elements of such offense. I therefore recommend that the plea of guilty be accepted
and that the Defendant be adjudged guilty and have sentence imposed accordingly.

        I further certify that a copy of this Report and Recommendation was this day delivered to
counsel for the United States and to counsel for the defendant.

       DONE AND ENTERED at Norfolk, Virginia, this 13* day of March, 2008.



Norfolk, Virginia
                                                    TED STATES MAGISTRATE JUDGE




                                      United States District Judge. 28 U.S C. § 636(b)(l)(B).
